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                    IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA
   In re:                                  )
                                           ) Bankruptcy No. 18-24699 GLT
   Gregory Scott Isenberg                  )
                                           )
                             Debtor (s)    )
                                           ) Chapter 13
   Gregory Scott Isenberg                  )
                                           )
                             Movant(s)     )
          v.                               ) Document No.
                                           )
   Wells Fargo Bank, N.A.                  )
                                           )
                             Respondent(s) )



               MOTION TO EXTEND TIME TO COMPLY WITH LBR 3002-4

   To the Honorable Judge:

   The Debtor(s), by their attorney, hereby move to extend the time required to file a

   Response to the Notice of Mortgage Payment Change filed by the Respondent on January

   20, 2022. In support of this motion debtor(s) aver:

          1.      The Respondents filed a Notice of Mortgage Payment Change on January

   20, 2022. In compliance with LBR 3002-4, the Debtor must file an amended chapter 13

   plan, a declaration regarding the NMPC, or an objection to the NMPC within twenty-one

   (21) days after the NMPC is filed, and is therefore due by February 10, 2022.

          2.      Counsel for debtor requests additional time to comply with LBR 3002-4 to

   provide the debtor an opportunity to cure the plan deficiency (two months of plan

   payments totaling $1,600).
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          3.     The Debtor requests that the time to comply with LBR 3002-4 be extended

   by 45 days. There are sufficient funds on hand to continue to make full payments on the

   mortgage obligation.



          WHEREFORE, the Debtors pray that they be permitted to extend the time to

   comply with LBR 3002-4 be extended to March 26, 2022.



   Date: February 9, 2022
                                                     /s/ Scott R. Lowden
                                                     Scott R. Lowden, Esquire
                                                     PA ID 72116
                                                     Rice & Associates Law Firm
                                                     15 W. Beau Street
                                                     Washington, PA 15301
                                                     lowdenscott@gmail.com
                                                     (412)374-7161
